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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,

                Plaintiff,

v.                                                      Criminal Case No: 1:15CR58

RACHEL HELSLEY,

                Defendant.

                         REPORT AND RECOMMENDATION
                     REGARDING PLEA OF GUILTY IN FELONY CASE

        This matter has been referred to the undersigned Magistrate Judge by the District Court for

purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

Rachel Helsley, in person and by counsel, Katy Cimino, appeared before me on August 26, 2015. The

Government appeared by Steve Vogrin, its Assistant United States Attorney. The Court determined

that Defendant would enter a plea of “Guilty” to Count Three of Indictment, charging her with aiding

and abetting in the distribution of heroin within 1,000 feet of a protected location, in violation of 21

U.S.C. §§ 841(a)(1), 841 (b)(1)(C), and 860, and 18 U.S.C. § 2.

        The Court proceeded with the Rule 11 proceeding by placing Defendant under oath.

        The Court determined that Defendant’s plea was pursuant to a written plea agreement, and

asked the Government to tender the original to the Court. The Court asked counsel for the

Government if the agreement was the sole agreement offered to Defendant. The Government

responded that it was and counsel for Defendant confirmed the same. The Court asked counsel for the

Government to summarize the written plea agreement. The Government did so. Defendant stated that

the agreement as summarized by counsel for the Government was the agreement she signed. The

Court ORDERED the written plea agreement filed.

        The Court asked Defendant if she was a citizen of the United States. Defendant stated that she
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was a citizen. The undersigned asked Defendant whether she understood that if she was not a citizen

of the United States, and pled guilty to the felony charge, she would be subject to deportation at the

conclusion of serving her sentence; that she would be denied future entry into the United States; and

that she would be denied citizenship if she ever applied for it. Defendant stated that she understood.

        The Court inquired of Defendant concerning her understanding of her right to have an Article

III Judge hear the entry of her guilty plea and her understanding of the difference between an Article

III Judge and a Magistrate Judge. Defendant stated, in open court, that she voluntarily waived her right

to have an Article III Judge hear her plea and voluntarily consented to the undersigned Magistrate

Judge hearing her plea and issuing a Report and Recommendation. Consistent therewith, Defendant

tendered to the Court a written Waiver of Article III Judge and Consent to Enter Guilty Plea before the

United States Magistrate Judge, which waiver and consent was signed by Defendant, countersigned

by Defendant’s counsel, and was concurred in by the signature of the Assistant United States Attorney.

The Court ORDERED the written waiver and consent filed.

        The undersigned then reviewed with Defendant Count Three of the Indictment, including the

elements of the crime the United States would have to prove at trial. The undersigned reviewed with

Defendant the statutory penalties applicable to an individual adjudicated guilty of the felony charge

contained in Count Three of the Indictment. The undersigned Magistrate Judge determined Defendant

understood the nature of the charge pending against her; understood that the possible statutory

maximum sentence which could be imposed upon her conviction or adjudication of guilt on that charge

was imprisonment for a term of not less than one (1) year and not more than forty (40) years; a fine

of not more than $2,000,000.00 could be imposed; both fine and imprisonment could be imposed;

and a period of mandatory supervised release of at least six (6) years. Defendant further understood

the Court would impose a special assessment of $100.00 for the felony conviction payable before the


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date of sentencing and understood that the Court may require her to pay the costs of her incarceration

and supervised release.

       The undersigned Magistrate Judge reviewed with Defendant her waiver of appellate and

collateral attack rights. Defendant understood that pursuant to her plea agreement, she was waiving

her right to appeal her conviction and sentence to the Fourth Circuit Court of Appeals on any ground

whatsoever, including those grounds set forth in 18 U.S.C. § 3742. Defendant further understood that

under her plea agreement, she was waiving her right to challenge her conviction and sentence in any

post-conviction proceeding, including any proceeding under 28 U.S.C. § 2255. Defendant understood,

however, that she was reserving the right to raise claims of ineffective assistance of counsel or

prosecutorial misconduct that she learned about after the plea hearing, and agreed that she was unaware

of any ineffective assistance of counsel or prosecutorial misconduct in her case at this time. The

undersigned Magistrate Judge determined that Defendant understood her appellate rights and collateral

attack rights and knowingly gave up those rights pursuant to the conditions contained in the written

plea agreement.

       Defendant thereafter stated in open court that she understood the terms of the written plea

agreement; it contained the whole of her agreement with the Government; and no promises or

representations were made to her by the Government or her own counsel than those terms contained

in the written plea agreement. Defendant stated she voluntarily executed the written plea agreement

only after she fully reviewed it with her attorney and after she had a complete understanding of its

terms and provisions. Defendant states it was her idea to sign the plea agreement. The undersigned

Magistrate Judge further determined that Defendant was competent to proceed with the Rule 11 plea

hearing.

       The undersigned Magistrate Judge specifically asked Defendant as to the non-binding

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recommendations and stipulations contained in the written plea bargain agreement and determined that

Defendant understood, with respect to the plea agreement and to Defendant’s entry of a plea of guilty

to the felony charge contained in Count Three of the Indictment, the undersigned Magistrate Judge

would write the subject Report and Recommendation and would further order a pre-sentence

investigation report be prepared by the probation officer attending the District Court, and only after

the District Court had an opportunity to review the pre-sentence investigation report, would the District

Court make a determination as to whether to accept or reject any recommendation or the stipulation

contained within the plea agreement. The undersigned reiterated to the Defendant, and the Defendant

stated she understood, that the District Judge may not agree with the recommendations or stipulations

contained in the written agreement. The undersigned Magistrate Judge further advised Defendant, in

accord with Federal Rule of Criminal Procedure 11, and Defendant stated she understood that, in the

event the District Court Judge refused to follow the non-binding recommendations or stipulations

contained in the written plea agreement and/or sentenced her to a sentence which was different from

that which she expected, she would not be permitted to withdraw her guilty plea. Defendant

acknowledged her understanding and maintained her desire to have her plea of guilty accepted.

        Defendant also understood that her actual sentence could not be calculated until after a pre-

sentence report was prepared and a sentencing hearing conducted. The undersigned also advised, and

Defendant stated that she understood, that the Sentencing Guidelines are no longer mandatory, and

that, even if the District Judge did not follow the Sentencing Guidelines or sentenced her to a higher

sentence than she expected, she would not have a right to withdraw her guilty plea. Defendant further

stated her attorney showed her how the advisory guideline chart worked but did not promise her any

specific sentence at the time of sentencing. Defendant stated that she understood her attorney could

not predict or promise her what actual sentence she would receive from the sentencing judge at the

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sentencing hearing. Defendant further understood there was no parole in the federal system, although

she may be able to earn institutional good time, that good time was not controlled by the Court, but

by the Federal Bureau of Prisons.

        The Government presented a proffer to provide an independent basis in fact to support

Defendant’s proposed plea of guilty.

        Defendant, Rachel Helsley, in the presence of her counsel, Katy Cimino, entered a verbal plea

of GUILTY to the felony charge contained in Count Three of the Indictment.

        Defendant stated she heard, understood, and agreed with the Government’s proffer. From said

proffer, the undersigned Magistrate Judge concludes the offense charged in Count Three of the

Indictment is supported by an independent basis in fact concerning each of the essential elements of

such offense.

        Upon consideration of all of the above, the undersigned Magistrate Judge finds that: Defendant

is fully competent and capable of entering an informed plea; Defendant is aware of and understood her

right to have an Article III Judge hear and accept her plea and voluntarily consented to the undersigned

United States Magistrate Judge hearing her plea; Defendant understood the charges against her;

Defendant understood the consequences of her plea of guilty, including the statutory mandatory

minimum and maximum sentence; Defendant made a knowing and voluntary plea of guilty to Count

Three of the Indictment; and Defendant’s plea is independently supported by the Government’s

proffer, which provides, beyond a reasonable doubt, proof of each of the essential elements of the

charge to which Defendant has pled guilty.

        The undersigned Magistrate Judge, therefore, recommends Defendant’s plea of guilty to the

charge contained in the Count Three of the Indictment be accepted conditioned upon the Court’s

receipt and review of this Report and Recommendation.


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           The undersigned further directs that a pre-sentence investigation report be prepared by the adult

 probation officer assigned to this case.

           Defendant is released pursuant to an Order Setting Conditions of Release to be entered in this

 matter.

           Any party may, within fourteen (14) days after being served with a copy of this Report and

 Recommendation, file with the Clerk of the Court written objections identifying the portions of the

 Report and Recommendation to which objection is made, and the basis for such objection. A copy of

 such objections should also be submitted to the Honorable Irene M. Keeley, United States District

 Judge. Failure to timely file objections to the Report and Recommendation set forth above will result

 in waiver of the right to appeal from a judgment of this Court based upon such report and

 recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert.

 denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn, 474

 U.S. 140 (1985).

           The Clerk of the Court is directed to send a copy of this Report and Recommendation to

 counsel of record.

           Respectfully submitted this 27th day of August, 2015.


                                                           /s/ John S. Kaull
                                                           JOHN S. KAULL
                                                           UNITED STATES MAGISTRATE JUDGE




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